OPINION — AG — THE OKLAHOMA EMPLOYMENT SECURITY COMMISSION, THE DEPARTMENT OF WELFARE, THE STATE HEALTH DEPARTMENT AND THE OKLAHOMA COMMISSION FOR CRIPPLED CHILDREN, HAS EACH EMPLOYED, ON A PART TIME BASIS, THE SAME PERSONS TO OPERATE ITS MERIT SYSTEM, WITH THE COMPENSATION OF SUCH PERSONS AND THE COST OF OFFICE RENT, OFFICE SUPPLIES, FURNITURE, AND OTHER NECESSARY INCIDENTAL EXPENSES INCURRED IN CONNECTION WITH THE OPERATION OF THE FOUR MERIT SYSTEMS BEING APPORTIONED TO, AND PAID BY, THE FOUR PARTICIPATING AGENCIES. . . . IS THIS LEGAL? — AFFIRMATIVE CITE: 40 O.S.H. 221, 74 O.S.H. 581, ARTICLE XXV, SECTION 4, OPINION NO. AUGUST 2, 1940 — HARPER, OPINION NO. JANUARY 27, 1955 — WOOD (JAMES HARKIN)